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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

UNITED STATES OF AMERICA                                                 PLAINTIFF

VS.                             NO. 4:14CR00017-JMM-2

WILMER GEOVANI FUENTES-RAMOS                                           DEFENDANT


                                      ORDER

      At his initial appearance before the Court in Case Number 4:14MJ6001-BD-2,

defendant Juan Contreras Ramos indicated that his correct name is Wilmer Geovani

Fuentes-Ramos. Mr. Fuentes-Ramos has now been indicted in Case Number

4:14CR00017-JMM-2. Because Mr. Fuentes-Ramos is the named defendant in both

cases, the Clerk is directed to merge case number 4:14MJ06001-BD-2 into case number

4:14CR00017-JMM-2.

      IT IS SO ORDERED this 19th day of February, 2014.



                                       ___________________________________
                                       UNITED STATES MAGISTRATE JUDGE
